Case 2:23-cv-00137-KNS Document 72 Filed 03/14/24 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EBONY CHAMBERS, et al.,

Plaintiffs

Vv. : CIVIL NO. 23-0137

CITY OF PHILADELPHIA, et al,

Defendants.

ORDER

AND NOW, this 14th day of March 2024, upon consideration of Plaintiffs’ Motion to

Compel (ECF No. 52), which has been fully briefed, and following oral argument held on March

12, 2024, it is hereby ORDERED that Plaintiffs’ Motion to Compel (ECF No. 52) is GRANTED

IN PART AND DENIED IN PART as follows:

1.

Defendants must produce documentation of other in-custody deaths and associated
investigations throughout the PDP from April 1, 2016 through the present.

Defendants shall prepare and produce an index of the complete personnel files of the
Defendants Manyeah Burnett, Sojan Varghese, and Wanda Murchison. Defendants must
then produce all indexed materials concerning training records, performance evaluations,
awards, decorations, commendations, or other positive citations, and documents pertaining
to any disciplinary proceedings of which each Defendant has been subject. These materials
shall be produced with appropriate redactions of personal and financial information. As to
all other materials contained in the personnel files of Defendants Manyeah Burnett, Sojan
Varghese, and Wanda Murchison, counsel shall meet and confer after the index is produced
to determine if any other categories of materials should be produced.

Defendants are not required to produce the personnel files of Defendants Commissioner

Carney, Nancy Gianetta, Edwin Cruz, Robert Rose, Steven Angelucci, Jessica Bowers, and

1

Case 2:23-cv-00137-KNS Document 72 Filed 03/14/24 Page 2 of 2

Walter Gray III.

BY THE COURT:

United States District Court Judge

No

